              Case 2:06-cr-00455-WBS Document 105 Filed 03/26/09 Page 1 of 2


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4    Attorney for Jay Sayarath
5

6                                IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                      )   Case No.: 2:06 CR 00455 WBS
9    UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO EXTEND
10                  Plaintiff,                        )   TIME FOR HEARING AND TO EXCLUDE
                                                      )   TIME
11          vs.                                       )
                                                      )
12   KHANTHY VONGSEDONE, et al,                       )
                                                      )
13                  Defendant                         )
14          The parties agree that time beginning March 30, 2009 and extending through April 27,

15   2009 should be excluded from the calculation of time under the Speedy Trial Act. (T-2 and T-4).

16   The parties submit that the ends of justice are served by the Court excluding such time, so that

17   counsel for the defendant may have reasonable time necessary for effective preparation, taking

18   into account the exercise of due diligence, and so that the defendant may have continuity of

19   counsel. 18 U.S.C. § 3161(h)(8)(B)(iv). The parties stipulate and agree that the interests of

20   justice served by granting this continuance outweigh the best interests of the public and the

21   defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).

22          The parties further request that this matter be taken off the March 30, 2009, calendar and

23   be rescheduled to April 27, 2009 at 8:30 a.m..

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                                   STIP AND ORDER TO EXTEND TIME - 1
             Case 2:06-cr-00455-WBS Document 105 Filed 03/26/09 Page 2 of 2



1                                   Respectfully submitted,

2
     Date: 3-25-09                                By:     /s/ Danny D. Brace, Jr.,
3                                                        DANNY D. BRACE, JR.,
                                                         Attorney for
4
                                                         Jay Sayarath
5

6    Date: 3-25-09                                By:    /s/ Shari Rusk
                                                         Authorized to sign for Ms. Rusk
7                                                        On March 25, 2009
                                                         Shari Rusk
8                                                        Attorney for Sue Her

9
     Date:   3-25-09                              By:    /s/ Chris Haydn-Myer
10                                                       Authorized to sign for Mr. Haydn
                                                         Myer, March 25, 2009
11
                                                         Chris Haydn-Myer
12
                                                         Attorney for Khanthy Vongsedone

13   Date: 3-25-09                                By:    /s/ J. Toney
                                                         Authorized to sign for Mr. Toney,
14                                                       on March 25, 2009
                                                         J. Toney
15                                                       Attorney for Tony Ketmany

16   Date:   3-25-09                              By:    /s/ Jill Thomas
                                                         Authorized to sign for Ms. Thomas,
17
                                                         on March 25, 2009
                                                         Jill Thomas
18
                                                         Assistant U.S. Attorney
19

20   IT IS SO ORDERED:
     Dated: March 25, 2009
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                             STIP AND ORDER TO EXTEND TIME - 2
